               Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 1 of 63 PageID #: 20

Exhibit B to the Complaint




                   U.S. Patent No. 9,300,723 v. Wondershare Technology Group Co Ltd

                                          Claims 22, 24, 27, 29, 30.




                                                                                                  1
                 Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 2 of 63 PageID #: 21

Exhibit B to the Complaint



   1. Claim Chart
 Claim                                                            Analysis
 [22.P]    Wondershare (“Company”) performs and/or induces others to perform a method of transferring a media file from a wireless
 A         mobile device to a media system over a communication network, the media system including a security measure.
 metho
 d of      This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 transfe
 rring a   For example, the Company provides a MobileTrans App, a data transfer application installed on both Android phone and iPhone.
 media     The MobileTrans App utilizes a wireless internet connection (“communication network”) that allows the iPhone (“wireless
 file      mobile device”) to send files (“transferring a media file”) to the Android phone (“media system”).
 from a
 wirele    Furthermore, the Android phone and the iPhone do not require users to input the email and the password every time they
 ss        communicate. Instead, the email and password input are necessary ("security measure") during the initial connection process,
 mobile    and thereafter, the devices automatically exchange data without requiring users to re-enter the email and password.
 device
 to    a
 media
 system
 over a
 comm
 unicati
 on
 networ
 k, the
 media
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 ng a
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 y
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               Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 3 of 63 PageID #: 22

Exhibit B to the Complaint



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 compr
 ising:




          Source: https://mobiletrans.wondershare.com/app/phone-to-phone-transfer-app.html


                                                          wireless
                                                          mobile                     media
                                                          device                     system

                                                                                                         media file




          Source: https://mobiletrans.wondershare.com/app/phone-to-phone-transfer-app.html (annotated)

                                                                                                                      3
               Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 4 of 63 PageID #: 23

Exhibit B to the Complaint




         Source: https://mobiletrans.wondershare.com/app/phone-to-phone-transfer-app.html




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:07




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               Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 5 of 63 PageID #: 24

Exhibit B to the Complaint




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:09




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               Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 6 of 63 PageID #: 25

Exhibit B to the Complaint




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:10




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               Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 7 of 63 PageID #: 26

Exhibit B to the Complaint




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:11




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               Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 8 of 63 PageID #: 27

Exhibit B to the Complaint




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:14




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               Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 9 of 63 PageID #: 28

Exhibit B to the Complaint




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:16




                                                                                                  9
              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 10 of 63 PageID #: 29

Exhibit B to the Complaint




                                                                                    WLAN
                                                                                    network




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:17 (annotated)




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 11 of 63 PageID #: 30

Exhibit B to the Complaint




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:19




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 12 of 63 PageID #: 31

Exhibit B to the Complaint




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:20




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 13 of 63 PageID #: 32

Exhibit B to the Complaint




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:21




                                                                                                  13
               Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 14 of 63 PageID #: 33

Exhibit B to the Complaint




                                                                media system
                                                                security
                                                                measure




          Source:                                                      https://accounts.wondershare.com/web/login-
          new?_gl=1%2a1p2a9bm%2a_gcl_au%2aMjAxMzkyNTU2NC4xNzAyODg0MDc3%2a_ga%2aMTEyMjM1MjAwNC4xNz
          AyODg0MDc5%2a_ga_24WTSJBD5B%2aMTcwMzgzMDY4My42LjAuMTcwMzgzMDY5MS41Mi4wLjA.&_ga=2.25957
          4346.1909711405.1703824421-1122352004.1702884079 (annotated)

         Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall supplement
         these contentions pursuant to production of such source code by the Defendant.
 [22.1] Company performs and/or induces others to perform the step of disposing the media system in an accessible relation to at least
 dispos one interactive computer network that has a wireless range structured to permit authorized access to said at least one interactive
 ing the computer network, wherein the wireless mobile device within said wireless range, wherein said wireless mobile device is
 media detectable by said media system.

                                                                                                                                         14
                 Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 15 of 63 PageID #: 34

Exhibit B to the Complaint



 system
 in an      This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 access
 ible       For example, the MobileTrans App is installed on both Android phone (“media system”) and iPhone (wireless mobile device).
 relatio    The phones utilize the file transfer feature to send/receive files via a WLAN connection (“interactive computer network”). The
 n to at    Android phone makes use of the WLAN connection for wirelessly transmitting files to the nearby (“wireless range”) iPhone.
 least      The Android phone needs to scan a QR code (“authorized access”) through the MobileTrans app to establish a connection with
 one        the nearby (“wireless range”) iPhone. After a successful scan, the Android phone transfers the files to the iPhone through the
 interac    established WLAN connection. Additionally, if the user cannot connect through QR code scanning, the MobileTrans app offers
 tive       a functionality where the Android phone can connect to a local wireless internet connection. To connect to a local wireless
 compu      router, the user must input a username and password for authorized access. Since wireless routers have an inherent wireless
 ter        range. Given that the WLAN connection has a defined range, and the Android phone establishes the WLAN connection while
 networ     the iPhone connects to the established WLAN for receiving files. Therefore, it would be apparent to a person of ordinary skill
 k that     in the art that the iPhone is disposed within said wireless range and it is detectable by the Android phone.
 has a
 wirele
 ss                                                              wireless
 range                                                           mobile                        media
 structu                                                         device                        system
 red to                                                                                                         media file
 permit
 author
 ized
 access
 to said
 at least
 one        Source: https://mobiletrans.wondershare.com/app/phone-to-phone-transfer-app.html (annotated)
 interac
 tive
 compu
 ter
 networ
 k,

                                                                                                                                         15
              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 16 of 63 PageID #: 35

Exhibit B to the Complaint



 wherei
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 wirele
 ss
 mobile
 device
 within Source: https://mobiletrans.wondershare.com/app/phone-to-phone-transfer-app.html
 said
 wirele
 ss
 range,
 wherei
 n said
 wirele
 ss                       media
 mobile                   system
 device
 is
 detect
 able
 by
 said
 media
 system
 ,


         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:10 (annotated)




                                                                                                  16
              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 17 of 63 PageID #: 36

Exhibit B to the Complaint




                                                                                    Android
                                                                                    phone
                                                                                    sends
                                                                                    media files




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:11 (annotated)




                                                                                                  17
              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 18 of 63 PageID #: 37

Exhibit B to the Complaint




             media
             system
                                                                                    wireless
                                                                                    mobile
                                                                                    device




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:14 (annotated)




                                                                                                  18
              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 19 of 63 PageID #: 38

Exhibit B to the Complaint




             media
             system
             disposing
             in an
             accessible
             relation




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:16 (annotated)




                                                                                                  19
              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 20 of 63 PageID #: 39

Exhibit B to the Complaint




                                                                                    interactive
                                                                                    computer
                                                                                    network




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:17 (annotated)




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 21 of 63 PageID #: 40

Exhibit B to the Complaint




          media
          system
          disposed
          in an
          accessible
          relation




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:19 (annotated)




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                 Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 22 of 63 PageID #: 41

Exhibit B to the Complaint




            Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:20

            Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall supplement
            these contentions pursuant to production of such source code by the Defendant.
 [22.2]     Company performs and/or induces others to perform the step of initially disposing at least one digital media file on the wireless
 initiall   mobile device, said media system being structured to detect said wireless mobile device disposed within said wireless range.
 y
 dispos     This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 ing at
 least      For example, the iPhone (“wireless mobile device”) utilizes the WLAN connection for wirelessly sending (“initially disposing”)
 one        the files (“digital media file”) to the nearby (“wireless range”) Android phone (“media system”). It would be apparent to a
 digital    person of ordinary skill in the art that the Android phone (“media system”) being structured to detect said wireless mobile
 media      device.


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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 23 of 63 PageID #: 42

Exhibit B to the Complaint



 file on
 the                                                     wireless
 wirele                                                  mobile                     media
 ss                                                      device                     system
 mobile
 device                                                                                                digital
 , said                                                                                                media file
 media
 system
 being
 structu
 red to Source: https://mobiletrans.wondershare.com/app/phone-to-phone-transfer-app.html (annotated)
 detect
 said
 wirele
 ss
 mobile
 device
 dispos
 ed      Source: https://mobiletrans.wondershare.com/app/phone-to-phone-transfer-app.html
 within
 said
 wirele
 ss
 range,




                                                                                                                    23
              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 24 of 63 PageID #: 43

Exhibit B to the Complaint




                             media
                             system




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:10 (annotated)




                                                                                                  24
              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 25 of 63 PageID #: 44

Exhibit B to the Complaint




                                                                                    media
                                                                                    system
                                                                                    sends the
                                                                                    digital
                                                                                    media file




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:11 (annotated)




                                                                                                  25
               Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 26 of 63 PageID #: 45

Exhibit B to the Complaint




                                                                                                  wireless
                                                                                                  mobile
                                                                                                  device




          Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:14 (annotated)

         Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall supplement
         these contentions pursuant to production of such source code by the Defendant.
 [22.3] Company performs and/or induces others to perform the step of structuring a communication link to dispose said media system
 structu and said wireless mobile device in a communicative relation with one another via said at least one interactive computer network.
 ring a
 comm This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 unicati
 on link For example, the user initiates the login process to their Wondershare account using the Android phone ("media system"). This
 to      involves entering login credentials such as email and password. After the login process, the Android phone ("media system")
 dispos displays the QR code, which is then scanned by the iPhone ("wireless mobile device") to establish a connection with the Android



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                Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 27 of 63 PageID #: 46

Exhibit B to the Complaint



 e said     phone through a WLAN ("interactive computer network"). Consequently, this procedure establishes a communication channel
 media      ("structuring a communication link to dispose") between the Android phone and the iPhone.
 system
 and
 said
 wirele
 ss
 mobile
 device
 in     a
 comm
                                                              user login to
 unicat-
                                                              Wondershare
 ive
                                                              account
 relatio
 n with
 one
 anothe
 r via
 said at
 least
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 tive
 compu
 ter
 networ     Source:                                                      https://accounts.wondershare.com/web/login-
 k,         new?_gl=1%2a1p2a9bm%2a_gcl_au%2aMjAxMzkyNTU2NC4xNzAyODg0MDc3%2a_ga%2aMTEyMjM1MjAwNC4xNz
            AyODg0MDc5%2a_ga_24WTSJBD5B%2aMTcwMzgzMDY4My42LjAuMTcwMzgzMDY5MS41Mi4wLjA.&_ga=2.25957
            4346.1909711405.1703824421-1122352004.1702884079 (annotated)




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 28 of 63 PageID #: 47

Exhibit B to the Complaint




         Source: https://mobiletrans.wondershare.com/app/phone-to-phone-transfer-app.html




                             media
                             system




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:10 (annotated)




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 29 of 63 PageID #: 48

Exhibit B to the Complaint




                                                                                    wireless
             media                                                                  mobile
             system                                                                 device




              media
              system
              displays
              the QR
              code




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:14 (annotated)




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 30 of 63 PageID #: 49

Exhibit B to the Complaint




           iPhone
           scans the
           QR code




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:16 (annotated)




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 31 of 63 PageID #: 50

Exhibit B to the Complaint




                                                                                    interactive
                                                                                    computer
                                                                                    network




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:17 (annotated)




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               Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 32 of 63 PageID #: 51

Exhibit B to the Complaint




                                                                                                            communication
                                                                                                            link establishes
                                                                                                            between media
                                                                                                            system and
                                                                                                            wireless mobile
                                                                                                            device




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:19 (annotated)

         Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall supplement
         these contentions pursuant to production of such source code by the Defendant.
 [22.4]  Company performs and/or induces others to perform the step of initiating said communication link by said media system.
 initiati
 ng       This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 said
 comm For example, the user of Android phone (“media system”) initiates login process by inputting the login credentials such as email
 unicati and password. This process established the communication channel between the Android phone and the iPhone.
 on link
 by
 said
 media

                                                                                                                                         32
              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 33 of 63 PageID #: 52

Exhibit B to the Complaint



 system
 ,




                                                     user login to
                                                     Wondershare
                                                     account




          Source:                                                      https://accounts.wondershare.com/web/login-
          new?_gl=1%2a1p2a9bm%2a_gcl_au%2aMjAxMzkyNTU2NC4xNzAyODg0MDc3%2a_ga%2aMTEyMjM1MjAwNC4xNz
          AyODg0MDc5%2a_ga_24WTSJBD5B%2aMTcwMzgzMDY4My42LjAuMTcwMzgzMDY5MS41Mi4wLjA.&_ga=2.25957
          4346.1909711405.1703824421-1122352004.1702884079 (annotated)




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 34 of 63 PageID #: 53

Exhibit B to the Complaint



         Source: https://mobiletrans.wondershare.com/app/phone-to-phone-transfer-app.html




                             media
                             system




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:10 (annotated)




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 35 of 63 PageID #: 54

Exhibit B to the Complaint




              media
              system
              displays
              the QR
              code




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:14 (annotated)




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 36 of 63 PageID #: 55

Exhibit B to the Complaint




             iPhone
             scans the
             QR code




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:16 (annotated)




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 37 of 63 PageID #: 56

Exhibit B to the Complaint




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:17




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               Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 38 of 63 PageID #: 57

Exhibit B to the Complaint




          media
          system
          initiates a
          connection




          Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:19 (annotated)

        Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall supplement
        these contentions pursuant to production of such source code by the Defendant.
 [22.5] Company performs and/or induces others to perform the step of transmitting by said wireless mobile device to the media system
 transm said at least one digital media file therebetween via said communication link.
 itting
 by     This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 said
 wirele For example, in file transfer feature, the iPhone ("wireless mobile device ") utilizes the established communication channel to
 ss     send (“transmitting”) files (“digital media file”) to the iPhone (“media system”).
 mobile
 device


                                                                                                                                        38
              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 39 of 63 PageID #: 58

Exhibit B to the Complaint



 to the
 media
                                                       wireless                     media
 system
 said at                                               mobile device                system
 least                                                                                                  digital
 one                                                                                                    media file
 digital
 media
 file
 thereb
 etwee
 n       Source: https://mobiletrans.wondershare.com/app/phone-to-phone-transfer-app.html (annotated)
 via
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         Source: https://mobiletrans.wondershare.com/app/phone-to-phone-transfer-app.html




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 40 of 63 PageID #: 59

Exhibit B to the Complaint




                                                                                    Android
                                                                                    phone
                                                                                    sends the
                                                                                    digital
                                                                                    media file




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:11 (annotated)




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 41 of 63 PageID #: 60

Exhibit B to the Complaint




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:19




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               Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 42 of 63 PageID #: 61

Exhibit B to the Complaint




          Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:20

         Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall supplement
         these contentions pursuant to production of such source code by the Defendant.
 [22.6] Company performs and/or induces others to perform the step of wherein said communication link is structured to bypass the
 wherei security measure of the media system for a limited permissible use of the communication link by the wireless mobile device for
 n said only transferring the at least one digital media file to, and displaying the at least one digital media file on, the media system.
 comm
 unicati This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 on link
 is      For example, the Android phone and the iPhone do not require users to input the email and the password ("security measure")
 structu every time they communicate. Instead, the email and password input are necessary during the initial connection process, and
 red to thereafter, the devices automatically exchange data without requiring users to re-enter the email and password. Therefore, upon
 bypass information and belief, the communication link is structured to bypass the security measure of the media system. Furthermore,

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                 Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 43 of 63 PageID #: 62

Exhibit B to the Complaint



 the        the iPhone utilizes the communication channel exclusively for transmitting the files to the Android phone (“bypass the security
 securit    measure of the media system for a limited permissible use of the communication link by the wireless mobile device for only
 y          transferring the at least one digital media file”). The Android phone display the files which are received from the iPhone.
 measu
 re of
 the
 media
 system
 for a
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                                                                 media terminal
 sible
                                                                 security
 use of
                                                                 measure
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 on link
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 rring      Source:                                                      https://accounts.wondershare.com/web/login-
 the at     new?_gl=1%2a1p2a9bm%2a_gcl_au%2aMjAxMzkyNTU2NC4xNzAyODg0MDc3%2a_ga%2aMTEyMjM1MjAwNC4xNz
 least      AyODg0MDc5%2a_ga_24WTSJBD5B%2aMTcwMzgzMDY4My42LjAuMTcwMzgzMDY5MS41Mi4wLjA.&_ga=2.25957
 one        4346.1909711405.1703824421-1122352004.1702884079 (annotated)
 digital
 media
 file to,

                                                                                                                                          43
              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 44 of 63 PageID #: 63

Exhibit B to the Complaint



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 the at
 least
 one
 digital Source: https://mobiletrans.wondershare.com/app/phone-to-phone-transfer-app.html
 media
 file on,
 the
 media      media
 system     system
 .




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:14 (annotated)




                                                                                                  44
              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 45 of 63 PageID #: 64

Exhibit B to the Complaint




            iPhone
            scans a QR
            code




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:16 (annotated)




                                                                                                  45
              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 46 of 63 PageID #: 65

Exhibit B to the Complaint




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:17




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 47 of 63 PageID #: 66

Exhibit B to the Complaint




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:19




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               Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 48 of 63 PageID #: 67

Exhibit B to the Complaint




           media
           system
           displays
           the
           digital
           media
           file




          Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:20 (annotated)

          Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall supplement
          these contentions pursuant to production of such source code by the Defendant.
 [24]     Company performs and/or induces others to perform the step of transmission of the at least one digital media file from the
 The      wireless mobile device to the media system completely bypasses the security measure.
 metho
 d of     This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 claim
 22,      For example, the Android phone and the iPhone do not require users to input the email and the password ("security measure")
 wherei   every time they communicate. Instead, the email and password input are necessary during the initial connection process, and
 n the    thereafter, the devices automatically exchange data without requiring users to re-enter the email and password. Therefore, upon
 transm   information and belief, the channel created between the iPhone and the Android phone bypass the security measure.
 ission

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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 49 of 63 PageID #: 68

Exhibit B to the Complaint



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          new?_gl=1%2a1p2a9bm%2a_gcl_au%2aMjAxMzkyNTU2NC4xNzAyODg0MDc3%2a_ga%2aMTEyMjM1MjAwNC4xNz
          AyODg0MDc5%2a_ga_24WTSJBD5B%2aMTcwMzgzMDY4My42LjAuMTcwMzgzMDY5MS41Mi4wLjA.&_ga=2.25957
          4346.1909711405.1703824421-1122352004.1702884079 (annotated)




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 50 of 63 PageID #: 69

Exhibit B to the Complaint




                                                         wireless
                                                         mobile                     media
                                                         device                     system
                                                                                                        digital
                                                                                                        media file




         Source: https://mobiletrans.wondershare.com/app/phone-to-phone-transfer-app.html (annotated)




         Source: https://mobiletrans.wondershare.com/app/phone-to-phone-transfer-app.html




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 51 of 63 PageID #: 70

Exhibit B to the Complaint




              media
              system
              displays
              QR code




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:14 (annotated)




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 52 of 63 PageID #: 71

Exhibit B to the Complaint




             iPhone
             scans a QR
             code




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:16 (annotated)




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 53 of 63 PageID #: 72

Exhibit B to the Complaint




                                                                                    WLAN




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:17 (annotated)




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 54 of 63 PageID #: 73

Exhibit B to the Complaint




         media
         system
         connection




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:19 (annotated)




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 55 of 63 PageID #: 74

Exhibit B to the Complaint




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:20

         Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall supplement
         these contentions pursuant to production of such source code by the Defendant.
 [27]    Company performs and/or induces others to perform the step of the communication link is at least one of a peer-to-peer
 The     connection, bluetooth connection, and a WiFi connection.
 metho
 d of This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 claim
 22,     For example, the iPhone transmits the files to the nearby Android phone using the WLAN connection (“WiFi connection”).
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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 56 of 63 PageID #: 75

Exhibit B to the Complaint



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         Source: https://mobiletrans.wondershare.com/app/phone-to-phone-transfer-app.html




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 57 of 63 PageID #: 76

Exhibit B to the Complaint




              Android
              displays
              the QR
              code




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:14 (annotated)




                                                                                                  57
              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 58 of 63 PageID #: 77

Exhibit B to the Complaint




                                                                                    iPhone
                                                                                    scans the
                                                                                    QR code




         Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:16 (annotated)




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               Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 59 of 63 PageID #: 78

Exhibit B to the Complaint




                                                                                                 WLAN




          Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:17 (annotated)

          Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall supplement
          these contentions pursuant to production of such source code by the Defendant.
 [29]     Company performs and/or induces others to perform the step of presenting the at least one digital media file on a display.
 The
 metho This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 d of
 claim For example, the Android displays (“presenting”) the received files (“digital media file”).
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               Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 60 of 63 PageID #: 79

Exhibit B to the Complaint



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           Source: https://mobiletrans.wondershare.com/app/phone-to-phone-transfer-app.html (annotated)




           Source: https://mobiletrans.wondershare.com/app/phone-to-phone-transfer-app.html




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               Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 61 of 63 PageID #: 80

Exhibit B to the Complaint




          display
          digital
          media file




          Source: https://www.youtube.com/watch?v=WuBk-YjJll4, at 0:20

          Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall supplement
          these contentions pursuant to production of such source code by the Defendant.
 [30]     Company performs and/or induces others to perform the step of at least one digital media file is provided by the wireless mobile
 The      device.
 metho
 d of This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 claim
 22,      For example, the iPhone (“wireless mobile device") transmits the files (“at least one digital media file”) to the Android phone.
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                Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 62 of 63 PageID #: 81

Exhibit B to the Complaint



 digital
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 file is                                                                              wireless mobile
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 ed by                                                                                                            digital
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 wirele
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 mobile
 device
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           Source: https://mobiletrans.wondershare.com/app/phone-to-phone-transfer-app.html (annotated)




           Source: https://mobiletrans.wondershare.com/app/phone-to-phone-transfer-app.html

           Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall supplement
           these contentions pursuant to production of such source code by the Defendant.




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              Case 2:24-cv-00046-JRG-RSP Document 1-2 Filed 01/25/24 Page 63 of 63 PageID #: 82

Exhibit B to the Complaint



   2. List of References
       1. https://mobiletrans.wondershare.com/app/phone-to-phone-transfer-app.html, last accessed on December 29, 2023.
       2. https://accounts.wondershare.com/web/login-
          new?_gl=1%2a1p2a9bm%2a_gcl_au%2aMjAxMzkyNTU2NC4xNzAyODg0MDc3%2a_ga%2aMTEyMjM1MjAwNC4xNz
          AyODg0MDc5%2a_ga_24WTSJBD5B%2aMTcwMzgzMDY4My42LjAuMTcwMzgzMDY5MS41Mi4wLjA.&_ga=2.25957
          4346.1909711405.1703824421-1122352004.1702884079, last accessed on December 29, 2023.
       3. https://www.youtube.com/watch?v=WuBk-YjJll4, last accessed on December 29, 2023.
       4. https://mobiletrans.wondershare.com/phone-to-phone-transfer.html, last accessed on December 29, 2023.
       5. https://mobiletrans.wondershare.com, last accessed on December 29, 2023.




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